            Case 23-41095-mxm11                    Doc 1      Filed 04/18/23 Entered 04/18/23 20:42:10                                  Desc Main
                                                            Document      Page 1 of 17

Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF TEXAS

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                FVR Medical Group, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          FKA The Pill Club Medical Group, Inc.
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  3 E. 3rd Avenue, Suite 200
                                  San Mateo, CA
                                  San Mateo, CA 94401
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  San Mateo                                                       Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://thepillclub.com/


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    FVR Medical Group, Inc.                                                                       Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                   $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                              operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                                exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                  The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                  debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                  When                                  Case number
                                                 District                                  When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 2
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Debtor    FVR Medical Group, Inc.                                                                         Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor      Yes, see attachment                                           Relationship

                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.

                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion



Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
           Case 23-41095-mxm11             Doc 1        Filed 04/18/23 Entered 04/18/23 20:42:10                      Desc Main
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Debtor   FVR Medical Group, Inc.                                                     Case number (if known)
         Name


16. Estimated liabilities     $0 - $50,000                               $1,000,001 - $10 million             $500,000,001 - $1 billion
                              $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                              $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                              $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
           Case 23-41095-mxm11                     Doc 1      Filed 04/18/23 Entered 04/18/23 20:42:10                                  Desc Main
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Debtor    FVR Medical Group, Inc.                                                                  Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      04/18/2023
                                                  MM / DD / YYYY


                             X     /s/ Elizabeth Meyerdirk                                                Elizabeth Meyerdirk
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Executive Officer




18. Signature of attorney    X      /s/ Katherine A. Preston                                               Date   04/18/2023
                                 Signature of attorney for debtor                                                 MM / DD / YYYY

                                 Katherine A. Preston
                                 Printed name

                                 Winston & Strawn LLP
                                 Firm name

                                 800 Capitol St
                                 Suite 2400
                                 Houston, TX 77002
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (713) 651-2699                Email address      KPreston@winston.com

                                 24088255 TX
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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Fill in this information to identify the case:
                                                                         ,
United States Bankruptcy Court for the:
                             Northern District of Texas
                                      (State)                                               ☐ Check if this is an
Case number (if known):                                   Chapter   11                          amended filing


                                               Rider 1
                Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition
in the United States Bankruptcy Court for the Northern District of Texas for relief under chapter 11 of title
11 of the United States Code. The Debtors have moved for joint administration of these cases under the
case number assigned to the chapter 11 case of The Pill Club Pharmacy Holdings, LLC.

   •    Hey Favor, Inc.
   •    The Pill Club Pharmacy Holdings, LLC
   •    MedPro Pharmacy, LLC
   •    MobiMeds, Inc.
   •    FVR Medical Group, Inc.
   •    FVR Medical Group of New Jersey, PC
   •    FVR Medical Group of Texas, PA
   •    FVR Medical Group of Kansas, PA
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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

     In re:                                                 ) Chapter 11
                                                            )
     FVR MEDICAL GROUP, INC.,                               ) Case No. __________ (______)
                                                            )
                                    Debtor.                 )
                                                            )

                            LIST OF EQUITY SECURITY HOLDERS1

                                                         Address of Equity         Approx. Percentage
              Debtor             Equity Holder
                                                               Holder                of Equity Held
                                                        FVR Medical Group,
                                                                 Inc.
                                                          3 E. 3rd Avenue,
     FVR Medical Group,                                       Suite 200
                               Dr. Sajad Zalzala                                            100%
           Inc.                                            San Mateo, CA
                                                                94401
                                                           Attn: Dr. Sajad
                                                               Zalzala




 1
          This list serves as the disclosure required to be made by the debtor pursuant to Rule 1007 of the
 Federal Rules of Bankruptcy Procedure. All equity positions listed indicate the record holder of such equity
 as of the date of commencement of the chapter 11 case.
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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

   In re:                                             ) Chapter 11
                                                      )
   FVR MEDICAL GROUP, INC.,                           ) Case No. __________ (______)
                                                      )
                                  Debtor.             )
                                                      )

                         CORPORATE OWNERSHIP STATEMENT

         Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,
 the following are corporations, other than a government unit, that directly or indirectly own 10%
 or more of any class of the debtor’s equity interest:

                                                    Approximate Percentage of Membership
                 Equity Holder
                                                                 Units Held
                 Not applicable
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       Morrison & Foerster LLP                                                         /HJDOVHUYLFHV
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       Mayne Pharma Inc                             *HQHUDO&RXQVHO
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               Case 23-41095-mxm11                Doc 1 Filed 04/18/23 Entered 04/18/23 20:42:10                                         Desc Main
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                                             7KH:RRGODQGV7;          7UDGHGHEW                                                               $234,000.00



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       Socure Inc.                                                                                                                                      $140,752.10
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       Mylan Pharmaceuticals Inc.            0\ODQ%OYG                                                                                            
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        Elation Health, Inc                  'LYLVDGHUR6W
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       Meta Platforms, Inc.                                                  7UDGHGHEW                                                                 $88,301.18
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            Case 23-41095-mxm11                   Doc 1 Filed 04/18/23 Entered 04/18/23 20:42:10                                        Desc Main
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                    The Pill Club Pharmacy Holdings, LLC, et al.
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      AmerisourceBergen
                                             &RQVKRKRFNHQ3$           7UDGHGHEW                                                              $79,602.01



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       Anda, Inc.                            :HVWRQ5RDG
                                             :HVWRQ)/                 7UDGHGHEW                                                              $74,676.43



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       Amplitude, Inc.                                                        7UDGHGHEW
                                             6DQ)UDQFLVFR&$                                                                                  $73,020.03



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      Principal Builders, Inc.               0LQQD6WUHHW
                                                                              7UDGHGHEW
                                             6DQ)UDQFLVFR&$                                                                                  $62,466.00



                                          %R\OVWRQ6WUHHW
      Ropes & Gray LLP                       %RVWRQ0$                 7UDGHGHEW                                                              $52,642.89
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       Postclick                             QG6WUHHW6XLWH         7UDGHGHEW                                                              $49,992.00
                                             6DQ)UDQFLVFR&$



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      CCI-Buckingham, LP                     %UD]RV6WUHHW6XLWH
                                                                              7UDGHGHEW                                                               $49,878.03
                                             $XVWLQ7;



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      Glenmark Pharmaceuticals Inc.          &RUSRUDWH'ULYH
                                                                              7UDGHGHEW                                                               $46,772.04
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           Case 23-41095-mxm11                     Doc 1 Filed 04/18/23 Entered 04/18/23 20:42:10                                         Desc Main
                                                        Document    Page 12 of 17
                  The Pill Club Pharmacy Holdings, LLC, et al.
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 30@<>
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     7-56583-00<1==58/6?0583C5:/901     17-56-00<1==92/<105>9<   4<>3D/:=93@>/23    5=/98>58318>      4@6319/7:7?4A99EA;?31A>3247997;<;9E
                                              /98>-/>                     230@?0/;89</;?     ?865;?50->109<    A;?31A>3219/7:/:<A;@419/7:7?=/>@7/99E
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     PresidioTrust                           /LQFROQ%OYG
                                                                              7UDGHGHEW                                                                $41,551.34
                                              6DQ)UDQFLVFR&$



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                                              :0DXGH$YH
     LinkedInCorporation                                                     7UDGHGHEW
                                              6XQQ\YDOH&$                                                                                        $36,019.50



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      Flatworld Solutions Inc.                9LOODJH%OYG               7UDGHGHEW                                                                   
                                              3ULQFHWRQ1-



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      Salesforce, Inc.                        0LVVLRQ6W                  7UDGHGHEW
                                              6DQ)UDQFLVFR&$                                                                                   $32,500.00



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      5LJKW6LGH8S//&                      (DJOH)HDWKHU'U
                                              $XVWLQ7;               7UDGHGHEW                                                                 $30,000.00



                                            1&HQWUDO$YH
     Quarles & Brady LLP                      3KRHQL[$=                7UDGHGHEW                                                               $28,507.50
                                              $WWQ5RJHU0RUULV




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       Case 23-41095-mxm11                      Doc 1 Filed 04/18/23 Entered 04/18/23 20:42:10                                     Desc Main
                                                     Document    Page 13 of 17
 Fill in this information to identify the case and this filing:


 Debtor Name     FVR Medical Group, Inc.
                                            Northern
 United States Bankruptcy Court for the: ______________________               TX
                                                                District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                      12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

              Schedule H: Codebtors (Official Form 206H)

              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

              Amended Schedule ____


         
         X     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

                                                          List of Equity Security Holders, Corporate Ownership Statement, 30 Top Creditors (consolidated)
         
         X     Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    4/18/2023
        Executed on ______________                                      s/ Elizabeth Meyerdirk
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 Elizabeth Meyerdirk
                                                                ________________________________________________________________________
                                                                Printed name

                                                                 CEO
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
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                         Uninamous Written Consent of the Board of Directors (the “Board”) of
                             (i) Hey Favor, Inc.; (ii) The Pill Club Pharmacy Holdings, LLC;
                          (iii) MedPro Pharmacy, LLC; (iv) MobiMeds, Inc.; (v) FVR Medical
                                 Group, Inc.; (vi) FVR Medical Group of New Jersey, PC;
                                  (vii) FVR Medical Group of Kansas, PA; and (viii) FVR
                                  Medical Group of Texas, PA (together, the “Company”)

                                                             April 18, 2023

              I.      COMMENCEMENT OF CHAPTER 11 CASE

                     WHEREAS, the Board reviewed and analyzed the materials presented by the
             management and legal advisors of the Company regarding the financial condition, liabilities and
             liquidity position of the Company, the strategic alternatives available to the Company, and the
             impact of the foregoing on the Company’s business; and

                    WHEREAS, the Board has determined that it is desirable and in the best interests of the
             Company, its creditors, stockholders, and other parties in interest, that the Company file or cause
             to be filed voluntary petitions for relief under the provisions of chapter 11 of title 11 of the
             United States Code, sections 101-1532, et seq. (the “Bankruptcy Code”) of the United States
             Bankruptcy Code; in the United States Bankruptcy Court for the District of Delaware (the
             “Bankruptcy Court”).

                     WHEREAS, the Board desires to adopt and approve the following resolutions.

                    NOW, THEREFORE, IT IS HEREBY RESOLVED, that the Company is hereby
             authorized to file or cause to be filed a voluntary petition for relief under the provisions of
             chapter 11 of the Bankruptcy Code (the “Chapter 11 Case”); and be it further

                    RESOLVED, that each of the Chief Executive Officer, Chief Financial Officer, and such
             other officers as may be designated by the Chief Executive Officer (collectively, the
             “Authorized Officers”), acting alone or with one or more other Authorized Officers, be, and
             hereby is, authorized and empowered to execute and file on behalf of the Company all petitions,
             schedules, lists and other papers or documents, and to take any and all action that they deem
             necessary or proper to obtain such relief; and be it further

              II.     RETENTION OF ADVISORS

                      RESOLVED, that each of the Authorized Officers, acting alone or with one or more
             other Authorized Officers, be, and hereby is, authorized and directed to continue to employ the
             law firm of Winston & Strawn, LLP (“Winston”) as general bankruptcy counsel to represent and
             assist the Company in carrying out its duties under title 11 of the United States Code, and to take
             any and all actions to advance the Company’s rights and obligations, including filing any
             pleadings; and in connection therewith, each of the Authorized Officers, acting alone or with one
             or more other Authorized Officers, be, and hereby is, authorized and directed to execute
             appropriate retention agreements, pay appropriate retainers prior to and immediately upon filing
             of the chapter 11 case, (and to replenish said retainers as necessary to maintain the same), and to
             cause to be filed an appropriate application for authority to retain the services of Winston &
             Strawn, LLP; and be it further


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                     RESOLVED, that each of the Authorized Officers, acting alone or with one or more
             other Authorized Officers, be, and hereby is, authorized and directed to employ the financial
             advisory firm of Accordion Partners, LLC (the “Financial Advisor”) to, assist the Company in
             carrying out its duties under title 11 of the United States Code, and to take any and all actions to
             advance the Company’s rights and obligations; and in connection therewith, each of the
             Authorized Officers, acting alone or with one or more other Authorized Officers, be, and hereby
             is, authorized and directed to execute appropriate retention agreements, pay appropriate retainers
             prior to and immediately upon the filing of the chapter 11 case, to cause to be filed appropriate
             applications for authority to retain the services of Accordion Partners; and be it further

                     RESOLVED, that each of the Authorized Officers, acting alone or with one or more
             other Authorized Officers, be, and hereby is, authorized and directed to employ BMC Group,
             Inc. (“BMC”) as notice and claims agent to represent and assist the Company in carrying out its
             duties under title 11 of the United States Code, and to take any and all actions to advance the
             Company’s rights and obligations; and in connection therewith, each of the Authorized Officers,
             acting alone or with one or more other Authorized Officers, be, and hereby is, authorized and
             directed to execute appropriate retention agreements, pay appropriate retainers prior to and
             immediately upon the filing of the chapter 11 case, and to cause to be filed appropriate
             applications for authority to retain the services of BMC; and be it further

                     RESOLVED, that each of the Authorized Officers, acting alone or with one or more
             other Authorized Officers, be, and hereby is, authorized and directed to employ any other
             professionals to assist the Company in carrying out its duties under title 11 of the United States
             Code; and in connection therewith, each of the Authorized Officers, acting alone or with one or
             more other Authorized Officers, be, and hereby is, authorized and directed to execute appropriate
             retention agreements, pay appropriate retainers prior to or immediately upon the filing of the
             chapter 11 case and to cause to be filed an appropriate application for authority to retain the
             services of any other professionals as necessary; and be it further

              III.   GENERAL

                     RESOLVED, that each of the Authorized Officers shall be, and each of them hereby is,
             authorized and directed, in the name of and on behalf of the Company, to take any and all such
             actions and to execute and deliver any and all such documents and instruments as the Board and
             the officers of the Company shall deem necessary or advisable in furtherance of, or to carry out
             the intent and effectuate the purposes of, any of the foregoing resolutions, and the fact that the
             Board and the officers of the Company have taken any such action or executed or delivered any
             such document or instrument shall be conclusive evidence of the approval and authorization
             thereof by the Company; and be it further

                     RESOLVED, that any and all actions heretofore, concurrently, or hereafter taken by the
             Board and the officers of the Company in connection with the matters contemplated by the
             foregoing resolutions be, and they hereby are, approved, ratified and confirmed in all respects as
             fully as if such had been presented to the Board for approval prior to such action or actions being
             taken; and be it further

                     RESOLVED, that the actions taken by this written consent shall have the same force and
             effect as if taken by the undersigned at a meeting, duly called and constituted in accordance with
             the bylaws of the Company; and be it further



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                     RESOLVED, that any and all notice of any meeting otherwise required regarding these
             resolutions, or the matters covered hereby is hereby waived in all respects; and be it further

                     RESOLVED, that this consent may be sent or delivered by facsimile or other electronic
             transmission and in any number of counterparts, each of which shall be deemed original, and
             such counterparts, when taken together, shall constitute one and same instrument, and shall be
             legally effective for all purposes.


                                                     [Signature Page Follows]




                                                                3
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                     IN WITNESS WHEREOF, the undersigned members of the Board hereby consent to
             the foregoing resolutions and actions which shall be effective as of the date first written above.

                                                             By:   ___________________________________
                                                                   Elizabeth Meyerdirk


                                                             By:   ___________________________________
                                                                   Kris Fredrickson


                                                             By:   ___________________________________
                                                                   Carle Stenmark


                                                             By:   ___________________________________
                                                                   T.J. Nahigian




                                          [SIGNATURE PAGE TO UNANIMOUS WRITTEN CONSENT]
